     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 1 of 33




                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

SOUTHEAST STORMWATER
ASSOCIATION, INC.; FLORIDA
STORMWATER ASSOCIATION, INC.;
FLORIDA RURAL WATER
ASSOCIATION, INC.; and FLORIDA
LEAGUE OF CITIES, INC.
                                              Case No. ________________
      Plaintiffs,

v.

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY; GINA
MCCARTHY, in her official capacity as
Administrator of the United States
Environmental Protection Agency;
UNITED STATES ARMY CORPS OF
ENGINEERS; ERIC FANNING, in his
official capacity as Secretary of the Army;
and JO-ELLEN DARCY, in her official
capacity as Assistant Secretary of the Army
for Civil Works.

      Defendants.

                    EXPEDITED COMPLAINT FOR
                DECLARATORY AND INJUNCTIVE RELIEF

      The Southeast Stormwater Association, Florida Stormwater Association,

Florida Rural Water Association, and Florida League of Cities (collectively

“Plaintiffs”) file this Complaint against the U.S. Environmental Protection Agency

and its Administrator (collectively “EPA”), and the U.S. Army Corps of Engineers


                                        1
        Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 2 of 33




and its civilian leadership (collectively “Corps”).      Plaintiffs challenge a final

administrative rule promulgated by EPA and Corps titled “Clean Water Rule:

Definition of ‘Waters of the United States’” (the “Rule”). 80 Fed. Reg. 37,054

(Jun. 29, 2015). The Rule seeks to define the federal government’s jurisdiction

under the Clean Water Act, the basis from which the Act’s regulatory requirements

flow.    But the Rule far exceeds the federal government’s powers under the

Commerce Clause, fails to afford protections guaranteed by the Due Process

Clause, contravenes the Clean Water Act’s text, misinterprets U.S. Supreme Court

precedent, subverts applicable notice-and-comment requirements, masks its true

fiscal impact through a flawed economic analysis, and is otherwise arbitrary and

capricious. If implemented, the Rule would adversely affect and indeed impede

the stormwater management functions served by members of the Plaintiff

organizations. Among other things, the Rule would divert and dilute scarce local

government resources.      This, in turn, would make meaningful water quality

improvements more difficult to attain and then sustain. Plaintiffs thus ask the

Court to vacate the Rule. Plaintiffs state in support:

                                   INTRODUCTION

        1.    The Clean Water Act prohibits “the discharge of any pollutant by any

person” without a National Pollution Discharge Elimination System (“NPDES”)

permit issued in accordance with § 402 of the Act, or a dredge and fill permit


                                          2
      Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 3 of 33




issued in accordance with § 404 of the Act. 33 U.S.C. § 1311(a). The Act defines

“discharge of a pollutant” as the “addition of any pollutant to navigable waters

from any point source.” Id. § 1362(12)(A). “Navigable waters” are defined as

“the waters of the United States, including the territorial seas.” Id. § 1362(7).

      2.     The Rule is an attempt to “clarify the scope of ‘waters of the United

States’ that are protected under the Clean Water Act.” 80 Fed. Reg. at 37,055.

Stated differently, the Rule delineates the scope of federal jurisdiction under the

Clean Water Act by identifying the waters and features that fall within the Act’s

definition of “navigable waters.” Id.

      3.     The Rule results in an expansion of federal jurisdiction under the

Clean Water Act, making it necessary for members of the Plaintiff organizations to

obtain additional – and unnecessary – permits under § 402 or § 404 of the Act.

      4.     This action arises under the Administrative Procedure Act (“APA”), 5

U.S.C. §§ 551-706. In promulgating the Rule, EPA and the Corps took actions that

were “arbitrary, capricious, an abuse of discretion,” and “otherwise not in

accordance with law,” id. § 706(2)(A); “contrary to constitutional right, power,

privilege, or immunity,” id. § 706(2)(B); “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right,” id. § 706(2)(C); and “without

observance of procedure required by law,” id. § 706(2)(D).




                                          3
      Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 4 of 33




      5.       Plaintiffs seek a declaration from the Court that EPA and the Corps

relied on a flawed process when promulgating the Rule: the agencies failed to

provide adequate notice-and-comment on the scientific reports that underpin the

final Rule, made significant revisions to the final Rule without reopening the

notice-and-comment process, conducted an inadequate and fatally-flawed

economic analysis, and engaged in an advocacy process that tainted their role as

unbiased regulators charged with considering – not shaping – public comments.

      6.       Plaintiffs seek a declaration from the Court that the Rule itself is

substantively flawed: the Rule exceeds the federal government’s authority under

the Commerce Clause, includes provisions so vague as to violate the Due Process

Clause, contravenes provisions of the Clean Water Act, misinterprets U.S.

Supreme Court precedent, and is otherwise inconsistent with sound science and

prudent public policy.

      7.       Plaintiffs further seek an order vacating the Rule and enjoining its

application.

                              JURISDICTION AND VENUE

      8.       The Court has federal question jurisdiction under 28 U.S.C. § 1331.

The Court has the authority to issue declaratory and injunctive relief pursuant to 28

U.S.C. §§ 2201 and 2202, and 5 U.S.C. §§ 705 and 706(1)-(2).




                                          4
        Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 5 of 33




        9.    EPA and the Corps have argued in other forums that exclusive subject

matter jurisdiction lies in the federal circuit courts of appeal under § 509(b) of the

Clean Water Act. 33 U.S.C. § 1369(b)(1). Not so. Section 509(b) confers original

jurisdiction on the circuit courts for only seven types of final agency actions: (1)

promulgation of “any standard of performance” under 33 U.S.C. § 1316 for various

sources of water pollution; (2) “determination[s]” of categories of sources of water

pollution under 33 U.S.C. § 1316(b)(1)(C); (3) promulgation of effluent standards

and prohibitions under 33 U.S.C. § 1317; (4) “determination[s] as to a State permit

program” submitted under 33 U.S.C. § 1342(b); (5) approval or promulgation of

effluent limitations under 33 U.S.C. §§ 1311, 1312, 1316, or 1345; (6) issuance or

denial of a permit under the NPDES program; and (7) promulgation of an

“individual control strategy” under 33 U.S.C. § 1314(l). If a final agency does not

fall within one of these seven categories, the federal district courts have

jurisdiction. See, e.g., Friends of the Everglades v. EPA, 699 F.3d 1280, 1286-89

(11th Cir. 2012) (rejecting original jurisdiction under § 509(b) of the Clean Water

Act).

        10.   The Rule promulgated by EPA and the Corps is not one of the seven

types of final agency actions specifically enumerated in § 509(b)(1) of the Clean

Water Act. The Rule is not a standard of performance, a determination of source

categories, an effluent standard or prohibition, a determination as to a state


                                          5
      Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 6 of 33




permitting program, an approval of an effluent limitation, an issuance or denial of a

permit, or an individual control strategy. Instead, the Rule defines the scope of

federal jurisdiction under the Clean Water Act. As such, this Court has original

jurisdiction to review the Rule.

      11.    In an abundance of caution, however, Plaintiffs have filed a petition

for review under § 509(b) with the U.S. Court of Appeals for the Sixth Circuit

within the 120 days prescribed by the Clean Water Act.            See 33 U.S.C. §

1369(b)(1). While Plaintiffs believe that this Court has jurisdiction to review the

Rule, Plaintiffs are mindful of the Seventh Circuit’s admonition in Am. Paper Inst.

v. EPA, 882 F.2d 287, 288 (7th Cir. 1989) that “[c]areful lawyers must apply for

judicial review [in the circuit courts] of anything remotely resembling” an action

reviewable under § 509(b)(1) of the Act.

      12.    Venue is proper under 28 U.S.C. § 1391(d) because one or more

Plaintiffs (and their members) reside in the district. Venue is also proper under 28

U.S.C. § 1391(e)(1)(C) because the Defendants are agencies and officers of the

United States.

                                      PARTIES

      13.    Plaintiff Southeast Stormwater Association (“SESWA”) is a not-for-

profit corporation actively involved in the development of water quality

regulations and implementation of water quality improvement programs in the


                                           6
      Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 7 of 33




southeast. SESWA has over 150 organizational members, consisting primarily of

municipal and county governments in Alabama, Florida, Georgia, Kentucky,

Mississippi, North Carolina, South Carolina, and Tennessee. SESWA members

also include water control districts and authorities, academic institutions, and

consulting and engineering firms throughout the southeast.          Many SESWA

members must obtain and then comply with NPDES permits for municipal separate

storm sewer systems (“MS4s”). All SESWA members have an interest in the

effective management of stormwater.

      14.    Plaintiff Florida Stormwater Association (“FSA”) is a not-for-profit

corporation actively involved in the development of water quality regulations, and

implementation and financing of water quality improvement programs throughout

Florida.    FSA has over 300 organizational members, consisting primarily of

municipal and county governments in Florida. FSA members also include water

control districts, academic institutions, and consulting and engineering firms

throughout Florida.    Many FSA members must obtain and then comply with

NPDES permits for MS4s. All FSA members have an interest in the effective

finance and management of stormwater and stormwater systems.

      15.    Plaintiff Florida Rural Water Association (“FRWA”) is a not-for-

profit corporation originally created to assist smaller communities with their water-

related operations and regulatory obligations.       FRWA’s 1,817 water utility


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      Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 8 of 33




members include counties, municipalities and special purpose districts throughout

Florida. Many FRWA members must obtain NPDES permits, including permits

for their MS4s.

      16.    Plaintiff Florida League of Cities (“League”) is a not-for-profit

corporation that represents the interests of 409 cities and one charter county in

Florida. The League is one of the largest municipal organizations of its kind in the

country. One of the League’s purposes is to represent its members before the

judicial branch of government on issues pertaining to the welfare of its members.

Many League members must obtain NPDES permits for their municipal

wastewater utilities, electric utilities, and MS4s.

      17.    Defendant U.S. Environmental Protection Agency has the primary

responsibility to implement the Clean Water Act. EPA promulgated the Rule at

issue together with the Corps.

      18.    Defendant U.S. Army Corps of Engineers shares with EPA the

responsibility to implement the Clean Water Act. The Corps promulgated the Rule

at issue together with EPA.

      19.    Defendant Gina McCarthy is Administrator of EPA. In her official

capacity, on May 27, 2015, Administrator McCarthy signed the Rule at issue.

      20.    Defendant Eric Fanning is Secretary of the Army. In his official

capacity, Secretary Fanning provides civilian oversight over the Corps.


                                           8
      Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 9 of 33




      21.    Defendant Jo-Ellen Darcy is Assistant Secretary of the Army for Civil

Works. In her official capacity, on May 27, 2015, Assistant Secretary Darcy

signed the Rule at issue.

                                     STANDING

      22.    Members of the Plaintiff organizations cannot discharge into “waters

of the United States” without the necessary Clean Water Act permits. But the

Rule’s use of certain terms – such as “tributary,” “adjacent waters,” “significant

nexus,” and “dry land” – and case-specific determinations create uncertainty about

which waters and features are “waters of the United States.” This jurisdictional

uncertainty deprives members of the Plaintiff organizations of notice of what the

law is and what it requires of them. A failure to comply would have serious

consequences for members of the Plaintiff organizations.

      23.    Negligently discharging into “waters of the United States” without the

necessary permit may be considered a criminal offense with first-time criminal

penalties of up to $25,000 per violation per day and up to one year in prison per

violation. 33 U.S.C. § 1319(c)(1). Knowingly discharging into “waters of the

United States” without the necessary permit may be considered a criminal offense

with first-time criminal penalties of up to $50,000 per violation per day and up to

three years in prison per violation. Id. § 1319(c)(2).




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     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 10 of 33




      24.    Civil penalties of up to $37,500 per violation per day may be imposed

for unauthorized discharges into “waters of the United States.” See id. § 1319(d).

      25.    The Clean Water Act also authorizes citizen suits by any “person or

persons having an interest which is or may be adversely affected.” 33 U.S.C. §

1365(g).    Regardless of the outcome, the regulated community must incur

substantial costs in defending citizen suits.

      26.    As such, members of the Plaintiff organizations must incur significant

costs to simply ensure that their activities do not result in unauthorized discharges

into waters or features that constitute “waters of the United States.” Costs of

complying with the Clean Water Act’s regulatory requirements inevitably follow.

      27.    For example, Pinellas County, Florida, and its co-permittees expect to

spend billions of dollars because of the Rule. 1      Pinellas County is the lead

permittee for MS4 Permit FLS000005, and is a FSA member. The following,

many of which are League, FSA and FRWA members, are Pinellas County’s co-

permittees: City of Belleair Beach, City of Belleair Bluffs, City of Clearwater,

City of Dunedin, City of Gulfport, City of Indian Rocks Beach, City of Largo, City

of Madeira Beach, City of Oldsmar, City of Pinellas Park, City of Safety Harbor,

City of Seminole, City of South Pasadena, City of St. Pete Beach, City of Tarpon


1
 Pinellas County’s comments appear on the rulemaking docket at EPA-HQ-OW-
2011-0880-14426.

                                          10
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 11 of 33




Springs, City of Treasure Island, FDOT District 7, Town of Belleair, Town of

Kenneth City, Town of North Redington Beach, Town of Redington Beach, and

Town of Redington Shores.       It is estimated that Pinellas County and its co-

permittees must spend between $131 million to $1.03 billion to comply with

standards for Total Nitrogen in waters that the Rule would make jurisdictional, and

between $299 million to $1.69 billion to comply with standards for Total

Phosphorus in newly jurisdictional waters.         See ATM Attachment to FSA

Comments at 9.

      28.   More specifically, “[Pinellas] County [itself] owns and operates 149

wet detention pond facilities, each of which discharges into the [County’s] MS4.”

Pinellas Comments at 4.      Application of federally enforceable water quality

standards to these wet detention ponds “could cost the County . . . [an] additional

$85 million.” Id. “This estimate does not include complying with water quality

standards in ditches or other similar stormwater conveyances.” Id. To simply

“compile permit applications or exemptions” for 1,318,867 linear feet of ditches in

the County’s MS4 system would cost $21,101,872 at a historic cost that ranges

between $16-$23 per linear foot.       Id. at 5.    The cost to “compile permit

applications or exemptions” for 3,563,411 linear feet of pipes within the MS4

would be $57,014,576. Id. at 6. The “cost to compile permit applications or




                                        11
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 12 of 33




exemptions” for the MS4’s 849,946 linear feet of “major drainage channels” would

be $13,599,136. Id.

      29.   Mecklenburg County, North Carolina, a SESWA member, similarly

fears that the Rule would impede the use of Best Management Practices (“BMPs”)

intended to benefit the environment. 2 Mecklenburg County “is located in the

piedmont region of North Carolina,” Mecklenburg Comments at 1, and worries

that BMPs often “constructed in wet ponds and wetlands,” but designed to benefit

waters further downstream, could themselves become “waters of the United

States.” Id. at 2. This would make it more difficult to implement BMPs and divert

resources needed to improve the environment. See id.

      30.   Gwinnett County, Georgia, another SESWA member, shares these

fears, noting that “it is not clear to [Gwinnett County] the extent to which water

within the County’s stormwater system, which is intended to retain, detain and

convey stormwater for treatment, may be treated as a ‘water of the United States.’”

Gwinnett County at 2. 3




2
 Mecklenburg County’s comments appear on the rulemaking docket at EPA-HQ-
OW-2011-0880-10946.
3
 Gwinnett County’s comments appear on the rulemaking docket at EPA-HQ-OW-
2011-0880-17352.


                                        12
         Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 13 of 33




         31.   The Village of Wellington, Florida, a city of less than 60,000 people,

and a FSA and League member, estimates that it would cost $9 million just to

bring its canal system, which is a part of its MS4, into compliance with existing

water quality standards. See Attachment to FSA Comments at 7. 4

         32.   Volusia, County, Florida, a FSA and FRWA member, estimates that it

must spend $30,368,000 to meet water quality standards in a canal that simply

conveys water into a more ecologically significant water, diverting resources

necessary to attain and maintain water quality in the latter. Id. at 17-18.

         33.   To comply with the Rule, the City of Miramar, Florida, a city of less

than 130,000 people and a League member, estimates that it must impose “a 900%

increase in an assessment fee for stormwater management.” Miramar Comments

at 3.5

         34.   Comments by the Plaintiffs and their members provide many more

examples of the harm that Rule would cause. E.g., Attachment to FSA Comments

at 1-18 (providing examples of ditches, canals, ponds, and other stormwater

conveyances affected by the Rule); see also D. Sunding & D. Zilberman, The


4
 FSA’s comments appear on the rulemaking docket at EPA-HQ-OW-2011-0880-
14613.
5
 The City of Miramar’s comments appear on the rulemaking docket at EPA-HQ-
OW-2011-0880-14466.


                                          13
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 14 of 33




Economics of Environmental Regulation by Licensing: An Assessment of Recent

Changes to the Wetland Permitting Process, 42 Nat. Resources J. 59, 74-76 (2002)

(noting, for example, that an “individual permit application” for a dredge and fill

permit costs on average “over $271,596 to prepare” and that it takes “an average of

788 days (or two years, two months)” to obtain an individual permit).

      35.   In short, the Rule’s expansion of federal jurisdiction would divert and

dilute scarce local government resources. This would be to the detriment of the

Plaintiffs, their members, and the environment. See FSA Comments at 5, 9; JEA

Comments at 2-3 (noting that Rule would “misallocate limited public resources”

being used by City of Jacksonville, a League, FSA, and FRWA member); 6 Florida

Department of Agriculture and Consumer Services Comments at 4-6 (noting that

Rule would “divert resources away from ongoing state and federal priority

restoration efforts and towards unnecessary efforts to protect waters that do not

directly affect human health and aquatic life” such as stormwater conveyances).7

      36.   Failure to provide adequate notice-and-comment prior to finalizing the

Rule further harms the Plaintiffs and their members. See, e.g., JEM Broad. Co. v.


6
 JEA’s comments appear on the rulemaking docket at EPA-HQ-OW-2011-0880-
15194.
7
 The Department’s comments appear on the rulemaking docket at EPA-HQ-OW-
2011-0880-10260.


                                        14
       Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 15 of 33




FCC, 22 F.3d 320, 326 (D.C. Cir. 1994) (“when a party complains of an agency’s

failure to provide notice and comment prior to acting, it is that failure which causes

‘injury’; and interested parties are ‘aggrieved’ by the order promulgating the

rules”).

       37.   Vacatur of the Rule would remedy harm to the Plaintiffs and their

members by, among other things, relieving the regulatory and economic burdens

that come with the Rule’s expansion of federal jurisdiction under the Clean Water

Act.

       38.    A primary purpose of each Plaintiff organization is to represent and

protect the interests of its members on matters like the federal rulemaking at issue

here. See e.g., FRWA Comments at 1-4;8 League Comments 1-5. 9

       39.   Each Plaintiff organization has members who have standing to sue in

their own right because these members are specifically and pervasively regulated

under the Clean Water Act; however, neither the claims asserted nor relief

requested require any individual member of the Plaintiff organizations to

participate in this lawsuit.



8
 FRWA’s comments appear on the rulemaking docket at EPA-HQ-OW-2011-
0880-14897.
9
 The League’s comments appear on the rulemaking docket at EPA-HQ-OW-2011-
0880-14466.

                                         15
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 16 of 33




      40.    Each Plaintiff organization also has standing to sue in its own right.

Each Plaintiff organization invests resources in activities intended to assist

members with Clean Water Act compliance. The Rule’s expansion of federal

jurisdiction under the Act would impair those activities by stretching the resources

of the Plaintiff organizations. As such, the Plaintiff organizations have standing to

sue in their own right. See, e.g., Havens Realty Corp. v. Coleman, 455 U.S. 363,

379 (1982) (“If, as broadly alleged, petitioners’ steering practices have perceptibly

impaired [organization]’s ability to provide [services], there can be no question

that the organization has suffered injury in fact. Such concrete and demonstrable

injury to the organization’s activities – with the consequent drain on the

organization’s resources – constitutes far more than simply a setback to the

organization’s abstract social interests.”).

                                       THE RULE

                  Response to Three U.S. Supreme Court Opinions

      41.    The Rule is a response to three U.S. Supreme Court decisions

interpreting the phrase “waters of the United States”: United States v. Riverside

Bayview Homes, Inc., 474 U.S. 121 (1985), Solid Waste Agency of Northern Cook

County v. U.S. Army Corps of Engineers, 531 U.S. 159 (2001) (“SWANCC”), and

Rapanos v. United States, 547 U.S. 715 (2006).




                                           16
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 17 of 33




      42.    The Riverside Bayview case concerned a wetland “adjacent to a body

of navigable water” in an “area characterized by saturated soil conditions and

wetland vegetation [that] extended beyond the boundary of respondent’s property”

to “a navigable waterway.” 474 U.S. at 131. There, the Court upheld the federal

government’s interpretation of “waters of the United States” to include a wetland

that “actually abuts on a navigable waterway.” Id. at 135.

      43.    Following Riverside Bayview, the federal government “adopted

increasingly broad interpretations of its own regulations under the Act.” Rapanos,

547 U.S. at 725.

      44.    The SWANCC case contracted a margin of this expanding federal

universe: the Migratory Bird Rule. The Migratory Bird Rule extended federal

jurisdiction to any intrastate waters “[w]hich are or would be used as habitat” by

migratory birds. 51 Fed. Reg. 41,206, 41,217 (Nov. 13, 1986). At issue in

SWANCC was whether the Migratory Bird Rule applied to “an abandoned sand and

gravel pit in northern Illinois.” SWANCC, 531 U.S. at 163-64. Explaining that

“[i]t was the significant nexus between the wetlands and ‘navigable waters’ that

informed [the Court’s] reading of the [Clean Water Act] in Riverside Bayview,” the

U.S. Supreme Court held that “nonnavigable, isolated, intrastate waters,” which

did not “actually abu[t] on a navigable waterway,” are not “waters of the United

States.” Id. at 167, 171.


                                        17
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 18 of 33




      45.    Rapanos further clipped the boundaries of federal jurisdiction. In

Rapanos, the U.S. Supreme Court “consider[ed] whether four Michigan wetlands,

which lie near ditches or man-made drains that eventually empty into traditional

navigable waters, constitute ‘waters of the United States’ within the meaning of the

Act.” Rapanos, 547 U.S. at 729. Prior to Rapanos, the federal government had

“interpreted its own regulations to include ‘ephemeral streams’ and ‘drainage

ditches’ as ‘tributaries’ that are part of the ‘waters of the United States.’” Id. at

725. “This interpretation extended ‘the waters of the United States’ to virtually

any land feature over which rainwater or drainage passes and leaves a visible

mark.” Id. A five-member majority of the U.S. Supreme Court rejected this

interpretation. A four-member plurality of the Court held that “waters of the

United States” do not “include channels through which water flows intermittently

or ephemerally, or channels that periodically provide drainage for rainfall.” Id. at

739. Justice Kennedy concurred in the judgment; however, for wetlands, Justice

Kennedy would require a “significant nexus” between wetlands and jurisdictional

waters – a showing that the wetlands “significantly affect the chemical, physical,

and biological integrity of other covered waters more readily understood as

‘navigable.’” Id. at 780.

      46.    In response to Riverside Bayview, SWANCC, and Rapanos, EPA and

the Corps jointly promulgated the Rule. See, e.g., 80 Fed. Reg. at 37,056-57.


                                         18
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 19 of 33




                        Process of Promulgating the Rule

      47.   EPA and the Corps published the proposed Rule on April 21, 2014,

and took comments on the proposal until November 14, 2014.

      48.   Months later, on January 15, 2015, EPA released its final

Connectivity Report. That report “provides much of the technical basis for this

[R]ule.” 80 Fed. Reg. at 37,057.

      49.   Plaintiffs and their members had no meaningful opportunity to

comment on the Connectivity Report. EPA’s Science Advisory Board (“SAB”)

was considering the Connectivity Report throughout the Rule’s comment period.

Many thus asked EPA and the Corps to extend the comment period. Plaintiff FSA,

for example, requested “an additional 90-day comment period . . . beginning after

the [SAB] release[d] its final report summarizing its analysis of the connectivity

report.” FSA Sept. 30, 2014 Comments at 1. 10 EPA and the Corps refused.

      50.   The SAB submitted the Connectivity Report to EPA, with

recommendations for revisions to the Rule. Based on those recommendations,

significant changes were made to the Rule without providing Plaintiffs and their

members an opportunity to comment on “the technical basis for this [R]ule.” 80

Fed. Reg. at 37,057. As such, the rulemaking had outpaced its own technical basis.


10
 FSA’s request for extension of time appears on the rulemaking docket at EPA-
HQ-OW-2011-0880-7965.

                                       19
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 20 of 33




      51.   EPA and the Corps also failed to consider public comments with an

open mind. EPA and the Corps used federal funds to campaign for the proposed

Rule and respond to criticisms of the proposal. More specifically, EPA and the

Corps used federal funds to prepare news releases, webcasts, blog posts, and social

media to shape public comments rather than simply consider public comments – to

influence members of Congress, state and local government officials, and the

general public. Compare http://perma.cc/F9U3-NW36 (urging people to submit

comments such as “[c]lean water is important to me” and that “I support EPA’s

efforts to protect it for my health, my family, and my community”) with Anti-

Lobbying Act, 18 U.S.C. § 1913 (prohibiting use of public funds to “directly or

indirectly . . . influence in any manner” members of Congress, or “an official of

any government”).

      52.   Contrary to the requirements of the Regulatory Flexibility Act, 5

U.S.C. §§ 601-12, EPA and the Corps failed to (1) solicit flexible regulatory

alternatives, (2) consider these alternative proposals, and (3) provide a meaningful

economic analysis. EPA and the Corps instead concluded that the Rule would not

have significant economic impacts on small entities, including smaller government

entities. See 80 Fed Reg. at 37,102. Comments filed by the Small Business

Administration’s Office of Advocacy contradict this conclusion.         The Small

Business Administration notes in its comments to EPA and the Corps:


                                        20
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 21 of 33




            Advocacy and small businesses are extremely concerned about
            the rule as proposed. The rule will have a direct and potentially
            costly impact on small businesses. The limited economic
            analysis which the agencies submitted with the rule provides
            ample evidence of a potentially significant economic impact.
            Advocacy advises the agencies to withdraw the rule and
            conduct a SBAR [or Small Business Advocacy Review] panel
            prior to promulgating any further rule on this issue.

Small Business Admin. Comments at 9 (emphasis added).

      53.   Also, as noted above, members of the Plaintiff organizations fear that

they must spend billions of dollars should their stormwater conveyances suddenly

become “waters of the United States.” MS4s in Manatee County, Florida plan to

spend as much as $2.3 billion; in Pinellas County, Florida as much as $1.69 billion;

in Sarasota County, Florida as much as $476 million; and in Seminole County,

Florida as much as $1.95 billion. See ATM Attachment to FSA Comments at 1-14.

This contradicts statements in EPA’s economic analysis of the Rule. There, the

federal government wrongly assumes that there are no costs associated with waters

becoming subject to water quality standards, monitoring requirements, total

maximum daily load (“TMDL”) development, and TMDL implementation. See

EPA Economic Analysis at 15-16.

      54.   The Rule’s economic analysis is replete with other such errors that

underestimate some costs and completely ignore others. The economic analysis,

for example, underestimates the costs of mitigation associated with areas becoming



                                        21
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 22 of 33




jurisdictional, and ignores the costs of seeking exemptions and defending

additional enforcement actions or citizen suits.

                              Substance of the Final Rule

      55.      The final Rule itself expands federal jurisdiction in a vague and

uncertain manner. The Rule places waters into three broad categories: (1) waters

that are always jurisdictional, (2) waters “that require a case-specific significant

nexus evaluation” to determine whether they are jurisdictional, and (3) waters

excluded from jurisdiction.

      56.      Always Jurisdictional – Six types of waters are always jurisdictional:

(1) “traditional navigable waters,” (2) interstate waters, (3) territorial seas, (4)

impoundments of waters deemed jurisdictional, (5) tributaries, and (6) waters

“adjacent” to the other five types.

            a. “Traditional navigable waters” are “waters that are currently used, or

were used in the past, or may be susceptible to use in interstate or foreign

commerce, including all waters which are subject to the ebb and flow of the tide.”

80 Fed. Reg. at 37,074.

            b. “Interstate waters” are waters that cross state borders, “even if they

are not navigable” and “do not connect to [navigable] waters.” Id.

            c. “Territorial seas” are “the belt of the seas measured from the line of

ordinary low water along that portion of the coast which is in direct contact with


                                          22
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 23 of 33




the open sea and the line marking the seaward limit of inland waters, and extending

seaward a distance of three miles.” Id. at 37,075 (quoting from § 502(8) of the

Clean Water Act).

         d. Tributary is any water that (1) “contributes flow either directly or

through another water” to a traditional navigable water, interstate water, or

territorial sea, and (2) “is characterized by the presence of the physical indicators

of a bed and banks and an ordinary high water mark.” 40 C.F.R. § 230.3(o)(3)(iii).

Tributaries are jurisdictional even where man-made or natural breaks occur, “so

long as a bed and banks and an ordinary high water mark can be identified

upstream of the break.” Id. “Ordinary high water mark” is defined broadly as

“that line on the shore established by the fluctuations of water and indicated by

physical characteristics such as a clear, natural line impressed on the bank,

shelving, changes in the character of soil, destruction of terrestrial vegetation, the

presence of litter and debris, or other appropriate means.” Id. § 230.3(o)(3)(vi).

The Corps has acknowledged in a guidance document that it is common for

“problematic situations” to arise, making the ordinary high water mark “difficult to

interpret.” See U.S. Army Corps of Engineers, A Guide to Ordinary High Water

Mark (OHWM) Delineation for Non-Perennial Streams in the Western Mountains,

Valleys, and Coast Region of the United States (Aug. 2014). This is particularly

true in Florida “where the banks are low and flat, the water does not impress on the


                                         23
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 24 of 33




soil any well-defined marks of demarcation between the bed and the banks.”

Tilden v. Smith, 94 Fla. 502, 513 (Fla. 1927). But now, contrary to Corps guidance,

the difficult job of determining the ordinary high water mark may be “infer[red]”

through desktop computer models and without “a field visit.” 80 Fed. Reg. at

37,077.

            e. “Adjacent” waters are waters “bordering, contiguous, or neighboring”

a traditional navigable water, interstate water, territorial sea, impoundments of

these waters, or a jurisdictional tributary.            40 C.F.R. § 230.3(o)(3)(i).

“Neighboring” waters are defined as waters, any part of which, are located (1)

within 100 feet of the ordinary high water mark of any jurisdictional waters, (2)

within the 100-year floodplain of any jurisdictional waters but not more than 1,500

feet from the ordinary high water mark of such waters, or (3) within 1,500 feet of

the high tide line of a traditional navigable water, interstate water, territorial sea, or

within 1,500 feet of the ordinary high water mark of the Great Lakes. Id. §

230.3(o)(3)(ii)(A)-(C).

      57.      Case-Specific Significant Nexus Evaluation – Waters that are not

categorially jurisdictional might still be jurisdictional based on a case-specific

“significant nexus” evaluation. A water with a “significant nexus” is “a water,

including wetlands, [that] either alone or in combination with other similarly

situated waters in the region, significantly affects the chemical, physical, or


                                           24
      Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 25 of 33




biological integrity” of a traditional navigable water, interstate water, or territorial

sea. Id. § 230.3(o)(3)(v). “Waters are similarly situated when they function alike

and are sufficiently close to function together in affecting downstream waters.” Id.

The following are automatically considered to be “similarly situated” and thus

jurisdictional: (1) prairie potholes, Carolina and Delmarva bays, pocosins, western

vernal pools in California, and Texas coastal prairie wetlands,” id. §

230.3(o)(1)(vii); (2) any water within the 100-year floodplain of an otherwise

jurisdictional water, § 230.3(o)(1)(viii); (3) waters, any part of which are 4,000 feet

of the high tide line or ordinary high water mark of any otherwise jurisdictional

water, impoundment of an otherwise jurisdictional water, or jurisdictional

tributary, id.

       58.       Excluded Waters – Waters excluded from jurisdiction include, among

other things, “waste treatment systems”; a small subset of ditches that do not

contribute flow to a jurisdictional water; ditches with ephemeral or intermittent

flow that do not drain wetlands, relocate tributaries, or excavate tributaries;

“stormwater control features” created in “dry land”; and puddles.                Id. §

230.3(o)(2). But the exclusions are vague. For example, there is no definition of

“dry land,” and the specific mention of “stormwater control features” suggests that

such features do not fall within the “wastewater treatment systems” exclusion – the

latter not being limited to those constructed in “dry land.” Id.


                                          25
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 26 of 33




                           Problems with the Final Rule

      59.    The Rule violates the U.S. Constitution, the Clean Water Act, the

Anti-Lobbying Act, the Regulatory Flexibility Act, and the APA.

      60.    The Rule codifies an interpretation of the phrase “waters of the United

States” that exceeds Congress’s powers under the Commerce Clause.               More

specifically, as the U.S. Supreme Court explained in SWANCC, in enacting the

Clean Water Act, Congress intended for jurisdiction to be tied to its commerce

power over navigation – to its ability to regulate channels of interstate commerce

like navigable rivers, lakes, and canals. 531 U.S. at 168 n.3. By extending

jurisdiction to isolated wetlands, ponds, ditches, stormwater conveyances and

canals that have no navigable features – and lack meaningful connections to

navigable waters – the Rule violates the Commerce Clause. Cf. Rapanos, 547 U.S.

at 731, 779 (four-member plurality and Justice Kennedy agreeing that the word

“navigable” should have some significance); SWANCC, 531 U.S. at 172

(explaining that “navigable” has “at least the import of showing us what Congress

had in mind as its authority for enacting the [Act]: its traditional jurisdiction over

waters that were or had been navigable in fact or which could reasonably be so

made”).

      61.    The Rule misinterprets Rapanos by codifying Justice Kennedy’s

wetland-specific “significant nexus” test for all waters. In Rapanos, both the four-


                                         26
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 27 of 33




member plurality and Justice Kennedy agreed that non-navigable tributaries of

jurisdictional waters should not be per se jurisdictional. Justice Kennedy said that

“mere adjacency to a tributary” is insufficient, 547 U.S. at 786, and warned against

the regulation of “drains, ditches, and streams remote from any navigable-in-fact

water and carrying only minor water-volumes toward it,” id. at 781. The plurality

similarly warned against extending jurisdiction to “‘ephemeral streams,’ ‘wet

meadows,’ storm sewers and culverts, ‘directional sheet flow during storm events,’

drain tiles, man-made drainage ditches, and dry arroyos in the middle of the

desert.” Id. at 734.

      62.    For wetlands, both the four-member plurality and Justice Kennedy

agreed that hydrological connections alone would not be enough for a wetland to

become jurisdictional. Id. at 732, 784. The plurality and Justice Kennedy did

disagree about the precise test for wetlands. The plurality found that wetlands

would be jurisdictional where there exists “a continuous surface connection” to

jurisdictional waters. Id. at 742. Justice Kennedy would require a “significant

nexus” between wetlands and jurisdictional water – a showing that the wetlands

“significantly affect the chemical, physical, and biological integrity of other

covered waters more readily understood as ‘navigable.’” Id. at 780.

      63.    As such, EPA and the Corps misinterpret Rapanos in at least three

important respects: (1) they apply Justice Kennedy’s “significant nexus” test to


                                        27
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 28 of 33




waters other than wetlands; (2) wrongly assume that Justice Kennedy’s test alone

controls even though “the holding” in Rapanos – “the narrowest” grounds for the

Court’s decision would require wetlands to pass both the plurality and Kennedy

tests, Marks v. United States, 430 U.S. 188, 193 (1977)(emphasis added); and (3)

ignore that Justice Kennedy’s test calls for a flexible, site-specific inquiry into the

“nexus” between specific wetlands and navigable waters.

        64.   The Rule violates the Due Process Clause because it fails to give

people of ordinary intelligence notice of what the law is and what it requires of

them.     More specifically, the Rule’s definitions of tributaries, adjacency,

significant nexus, excluded ditches, excluded water management features,

excluded stormwater conveyances, and dry land are unconstitutionally vague. The

definition of “significant nexus,” for example, uses words and phrases like

“integrity,” “significant effect,” “insubstantial,” “similarly situated waters” and

“the functions the evaluated waters perform.” No reasonable person – including

the Plaintiffs and their members – can plan their operations based on such phrases.

Such phrases open the door to arbitrary enforcement, and invite citizen suits to test

the (jurisdictional) waters.

        65.   The process used to promulgate the Rule violates the Due Process

Clause because EPA and the Corps failed to consider public comments with an

open mind. Abdicating their role as impartial regulators, EPA and the Corps


                                          28
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 29 of 33




instead used a campaign designed to shape public opinion. This made clear that

EPA and the Corps had no intention to listen to those who spoke against the

proposed Rule. This public relations blitzkrieg by EPA and the Corps also violated

the Anti-Lobbying Act, 18 U.S.C. § 1913.

      66.   EPA and the Corps subverted the notice-and-comment process by

failing to make the Connectivity Report available for public comment; making

significant revisions to the Rule that were not a logical outgrowth of its proposal;

and providing a misleading economic analysis in contravention of the Regulatory

Flexibility Act, 5 U.S.C. §§ 601-12.

      67.   The limitation of the exclusion for stormwater conveyances to those

“created in dry land” is inconsistent with the Clean Water Act’s plain text. The

Act requires permits only for “discharges from municipal storm sewers.”          33

U.S.C. § 1342(p)(3)(B)(emphasis added).         But by limiting the stormwater

conveyance exclusion to only those “features . . . created in dry land,” the Rule

carves up the stormwater exclusion. And, for the first time, the Rule requires

permits for discharges into municipal storm sewers – into features that form the

municipal storm sewer with permitted downstream outfalls. This uroboros feature

violates the Clean Water Act’s plain language.         Id.; see also 40 C.F.R. §

122.26(b)(9)(defining an MS4’s “outfall” as “the point where a municipal separate

storm sewer discharges to waters of the United States”).


                                        29
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 30 of 33




      68.    Requiring permits for discharges into stormwater conveyances – or

for maintenance work in stormwater conveyances – would divert scarce resources

away from projects that would actually benefit the environment. This would be in

contravention of the Clean Water Act’s “national policy . . . to prevent needless

duplication and unnecessary delays at all levels of government.”             33 U.S.C.

1251(f).

      69.    Several Rule provisions are inconsistent with scientific evidence that

was before EPA and the Corps.         The definitions of “significant nexus” and

“adjacent,” for example, are based on a connectivity concept.          The scientific

evidence shows that connectivity is a site-specific concept, based on site-specific

factors. EPA and the Corps, however, have drawn bright lines like the 100-year

floodplain boundary without regard for site-specific factors like soil type and

conditions, slope, frequency of rainfall, duration of rainfall, magnitude of rainfall,

frequency of flow, and distance to navigable waters.

                   COUNT I: VIOLATION OF 5 U.S.C. § 706(2)(A)

      70.    Plaintiffs incorporate by reference all preceding paragraphs.

      71.    The Rule is “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law” in violation of 5 U.S.C. § 706(2)(A). Among other

things, the Rule is unsupported by the law, scientific and economic evidence

before EPA and the Corps, and inconsistent with Clean Water Act’s text.


                                         30
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 31 of 33




                  COUNT II: VIOLATION OF 5 U.S.C. § 706(2)(B)

      72.   Plaintiffs incorporate by reference all preceding paragraphs.

      73.   The Rule is “contrary to constitutional right, power, privilege, or

immunity” in violation of 5 U.S.C. § 706(2)(B). Among other things, the Rule

exceeds federal authority under Section 8 of Article 1 of the U.S. Constitution –

the Commerce Clause – and violates the rights guaranteed by the Due Process

Clause of the Fifth Amendment to the U.S. Constitution.

                 COUNT III: VIOLATION OF 5 U.S.C. § 706(2)(C)

      74.   Plaintiffs incorporate by reference all preceding paragraphs.

      75.   The Rule was promulgated “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right” in violation of 5 U.S.C. §

706(2)(C). Among other things, the Rule definition of “waters of the United

States” is inconsistent with the Clean Water Act’s text, and in excess of the

authority conferred on EPA and the Corps by the Act.

                 COUNT IV: VIOLATION OF 5 U.S.C. § 706(2)(D)

      76.   Plaintiffs incorporate by reference all preceding paragraphs.

      77.   The Rule was promulgated “without observance of procedure required

by law” in violation of 5 U.S.C. § 706(2)(D). Among other things, EPA and the

Corps failed to disclose final versions of seminal supporting documents, analyses,

and evidence during the notice-and-comment process in violation of 5 U.S.C. §


                                        31
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 32 of 33




553; made substantial changes to the Rule between publication of the proposed

Rule and final Rule without reopening the comment period; neglected to undertake

a regulatory flexibility analysis as required by the Regulatory Flexibility Act, 5

U.S.C. § 601-02; and undertook a public advocacy process that undermined the

integrity of the notice-and-comment requirement and violated the Anti-Lobbying

Act, 18 U.S.C. § 1913.

                                PRAYER FOR RELIEF

       WHEREFORE Plaintiffs ask that the Court:

       A.   Declare that the process used to promulgate the Rule violates the

APA;

       B.   Declare that the Rule itself violates the APA;

       C.   Declare that the Rule is inconsistent with the Clean Water Act’s text;

       D.   Declare that EPA and the Corps violated the Regulatory Flexibility

Act in promulgating the Rule;

       E.   Declare that EPA and the Corps violated the Anti-Lobbying Act in

promulgating the Rule;

       F.   Declare that the Rule exceeds federal authority under Section 8 of

Article 1 of the U.S. Constitution – the Commerce Clause;

       G.   Declare that EPA and the Corps violated the Due Process Clause of

the Fifth Amendment to the U.S. Constitution in promulgating the Rule;


                                        32
     Case 4:15-cv-00579-MW-MAF Document 1 Filed 11/30/15 Page 33 of 33




        H.   Declare that the Rule itself violates the Due Process Clause of the

Fifth Amendment to the U.S. Constitution;

        I.   Enter an order vacating the Rule;

        J.   Enter an order enjoining EPA or the Corps from implementing the

Rule;

        K.   Award Plaintiffs their reasonable fees, costs and expenses, and

attorney’s fees under the Equal Access to Justice Act, 28 U.S.C. § 2412(d); and

        L.   Grant any other relief the Court deems just and proper.

                                      Respectfully submitted,

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                                        33
